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        5.     Attached hereto as Exhibit D is a true and accurate copy of Gregory Greene’s

Responses to Mark Karpeles’s First Set of Interrogatories.

        6.     Attached hereto as Exhibit E is a true and accurate copy of excerpts from the

deposition transcript of Gregory Greene, taken in this matter on November 11, 2019, in Chicago,

Illinois.

        7.     Attached hereto as Exhibit F is a true and accurate copy of a declaration signed by

Gregory Greene on February 18, 2020.

        8.     Attached hereto as Exhibit G is a true and accurate screenshot of a forum post

made by Mark Karpeles (using the username MagicalTux) on the bitcointalk.org website on

September 10, 2012. The post is available online at:

https://bitcointalk.org/index.php?topic=23938.msg1177353#msg1177353. In his written

interrogatory responses, Karpeles indicated he used the username “MagicalTux” on the

bitcointalk.org forums. See Ex. I at Resp. No. 4.

        9.     Attached hereto as Exhibit H is a true and accurate copy of an email received by

Gregory Greene on April 6, 2013.

        10.    Attached hereto as Exhibit I is a true and accurate copy of Defendant Mark

Karpeles’s Responses to Greene’s First Set of Interrogatories.

        11.    Attached hereto as Exhibit J is a true and accurate copy of the Mt. Gox Terms of

Use that applied to U.S. users of the Exchange. The copy was originally pulled from the Internet

Archive and filed in this case at dkt. 11-2. Karpeles agreed that the document, which was

presented to him in his deposition, accurately represents Mt. Gox’s Terms of Use that applied to

U.S. users of the exchange. (Ex. A at 92:4-96:13.) Karpeles further agreed that the Internet

Archive accurately stores the contents documents from the Internet. (Id. 94:1-7.)




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       12.     Attached hereto as Exhibit K is a true and accurate copy of an email from Mark

Karpeles to Jed McCaleb from January 28, 2011. This email was introduced at Mr. Karpeles’s

deposition. (See Ex. A at 37:13–38:11.)

       13.     Attached hereto as Exhibit L is a true and accurate copy of excerpts of electronic

communications between Mark Karpeles and Jed McCaleb. At his deposition, Karpeles agreed

that the log appears to be an accurate reproduction of communications between himself and

McCaleb. (Ex. A at 46:4-47:24.)

       14.     Attached hereto as Exhibit M is a true and accurate copy of Karpeles’s Responses

to Greene’s First Set of Requests to Admit Facts.

       15.     Attached hereto as Exhibit N is a true and accurate copy of a declaration signed

by Jed McCaleb on February 11, 2020.

       16.     Attached hereto as Exhibit O is a true and accurate copy of the expert report and

declaration of Professor Carol R. Goforth, which Plaintiff disclosed to Karpeles pursuant to Fed.

R. Civ. P. 26(a)(2).

       17.     Attached hereto as Exhibit P is a true and accurate copy of the February 2011

purchase agreement for Mt. Gox, which was presented during Karpeles’s deposition and

additionally attached as Exhibit B to the McCaleb Declaration. Mr. McCaleb confirmed the

accuracy of the document in his declaration. (Ex. N ¶ 11.). Exhibit P was introduced during

Karpeles’s deposition. (Ex. A 32:4–33:10.)

       18.     Attached hereto as Exhibit Q is a true and accurate PDF reproduction of an article

titled “Bitcoin History Part 17: That Time Mt. Gox Destroyed 2,609 BTC,” written by Kai

Sedgwick, and published at https://news.bitcoin.com/bitcoin-history-part-17-that-time-mt-gox-

destroyed-2609-btc/.




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       19.     Attached hereto as Exhibit R is a true and accurate copy of the seizure warrant

and return filed in case number 1:13-mj-01085-SAG (D. Md.).

       20.     Attached hereto as Exhibit S is a true and accurate copy of the seizure warrant and

return filed in case number 1:13-mj-01162-SKG (D. Md.).

       21.     Attached hereto as Exhibit T is a true and accurate PDF reproduction of an article

titled “Former Mt. Gox chief Mark Karpeles acquitted of most charges in major bitcoin case,”

written by Sherisse Pham for CNN Business, and published at

https://www.cnn.com/2019/03/14/tech/mark-karpeles-mt-gox/index.html.

       22.     Attached hereto as Exhibit U is a true and accurate copy of the document bearing

the Mt. Gox logo entitled “Crisis Strategy Draft.” The document was leaked onto the Internet in

February 2014. In an email exchange between Jed McCaleb and Mark Karpeles on February 24,

2014, produced in a case titled Raggio, et al. v. Coin Collective, et al., No. 3:19-cv-00022 (S.D.

Miss.), Karpeles confirmed some of the particulars in the document. (Raggio dkt. 2-10, at 73-74.)

       23.     Attached hereto as Exhibit V is a true and accurate copy of a document bearing

the Mt. Gox logo titled “Company Overview,” and dated January 2012. The document was

downloaded from the Internet Archive. According to the Internet Archive, the document was

available at mtgox.com beginning February 1, 2012, at a link titled “Mt. Gox overview: January

2012 / Transparency.” Karpeles agreed that the Internet Archive accurately stores documents and

text from the Internet. (Ex. A at 94:1-7.) In an email exchange between Jed McCaleb and Mark

Karpeles dated February 1, 2012, produced in the above-reference Raggio matter, Karpeles

confirmed some of the particulars in the document. (Raggio dkt. 2-5, at 17-18.)

       24.     Attached hereto as Exhibit W is a true and accurate copy of a document bearing

the Mt. Gox logo titled “Company Overview,” and dated August 2012. The document was




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downloaded from the Internet Archive. According to the Internet Archive, the document was

available at mtgox.com beginning August 31, 2012, at a link titled “Mt. Gox overview: August

2012.”

         25.   Attached hereto as Exhibit Y is a true and accurate copy of a document titled

“Mt.Gox & Coinlab Announce Strategic Partnership to Bolster American Presence, Celebrate

$1/2 Billion per Year in Annualized Trades,” dated February 28, 2013. The document was

downloaded from the Internet Archive, which Karpeles agrees accurately stores documents from

the Internet. (Ex. A at 94:1-7.)

         26.   Attached hereto as Exhibit Z is a true and accurate copy of a document titled

“Exclusive License Agreement for the USA & Canada,” executed by Mark Karpeles on behalf of

Mt. Gox. The document was attached to the Complaint filed in the matter of CoinLab, Inc. v. Mt.

Gox KK, et al., case number 2:13-cv-00777-MJP (W.D. Wash.). Defendants’ answer admits the

authenticity of this document. See Ex. AB.

         27.   Attached hereto as Exhibit AA is a true and accurate copy of the Complaint filed

by CoinLab in the above-referenced CoinLab matter.

         28.   Attached hereto as Exhibit AB is a true and accurate copy of the “Answer and

Counterclaim” filed by Mt. Gox KK and Tibanne KK in the above-referenced CoinLab matter.

Numbered paragraph 1 of this document admits the authenticity of the “Exclusive License

Agreement” attached supra as Ex. Z.

         29.   Attached hereto as Exhibit AC is a true and accurate copy of a document titled

“The Willy Report: proof of massive fraudulent trading activity at Mt. Gox, and how it has

affected the price of Bitcoin.” The document, published on May 25, 2014 on Wordpress.com at

https://willyreport.wordpress.com/2014/05/25/the-willy-report-proof-of-massive-fraudulent-




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trading-activity-at-mt-gox-and-how-it-has-affected-the-price-of-bitcoin/, was introduced as

Exhibit 6 in the deposition of Mark Karpeles. (Ex. A at 110:16–111:10.)

         30.    Attached hereto as Exhibit AD is a true and accurate PDF reproduction of a

document titled “Comments on the Mark Karpelès trial,” written by Kim Nilsson on the WizSec

blog, and published at https://blog.wizsec.jp/2017/07/comments-on-mark-karpeles-trial.html.

         31.    Attached hereto as Exhibit AE is a true and accurate copy of Plaintiff Greene’s

First Supplemental Answers to Defendant Mark Karpeles’s First Set of Interrogatories.

         32.    Attached hereto as Exhibit AF is a true and accurate copy of a document titled

“Statement on Resumption of Withdrawals and Improved Banking.” According to the Internet

Archive, the document was posted to the Mt. Gox website on July 4, 2013. Karpeles agrees that

the Internet Archive accurately reproduces documents and text from the Internet. (Ex. A at 94:1-

7.)

         I declare under the penalty of perjury that the foregoing is true and correct.




Dated: February 18, 2020                        /s/ Benjamin S. Thomassen

                                                Benjamin S. Thomassen




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                               CERTIFICATE OF SERVICE

       I, Benjamin S. Thomassen, an attorney, hereby certify that on February 18, 2020, I served
the above and foregoing document by causing a true and accurate copy of such paper to be filed
and served on all counsel of record via the court’s CM/ECF electronic filing system.



                                            /s/ Benjamin S. Thomassen




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